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  4                       UNITED STATES DISTRICT COURT

  5         CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

  6
       THERESA BROOKE, an Individual,                     Case No. EDCV 5:20-cv-2429-JGB
  7                                                                   (SPx)
                                             Plaintiff,
  8
                   v.
  9                                                               JUDGMENT
10     JSC Hospitality Investment, Inc.,
11                                         Defendant.
12
13    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
14
            Pursuant to the Order filed concurrently herewith, the Motion to Dismiss
15
      filed by Defendant JSC Hospitality Investment, Inc., is GRANTED. Plaintiff
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      Theresa Brooke’s Complaint is DISMISSED without leave to amend. Judgment is
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      entered in favor of Defendant JSC Hospitality Investment, Inc.
18
19     Dated: January 22, 2021
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21                                            THE HONORABLE JESUS G. BERNAL
                                              United States District Judge
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